902 F.2d 1564Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Terry Wayne CARR, Plaintiff-Appellant,v.S.A. FARLEY, Officer, # 2956;  S.G. WEATHERS, Officer, #2197, Defendants-Appellees.
    
      No. 89-6743.
      United States Court of Appeals, Fourth Circuit.
      Submitted Dec. 29, 1989.Decided May 1, 1990.
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frank A. Kaufman, Senior District Judge.  (C/A No. 88-3187-K)
      Terry Wayne Carr, appellant pro se.
      John A. Austin, County Attorney's Office, Towson, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before DONALD RUSSELL, WIDENER and PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Terry Wayne Carr appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Carr v. Farley, CA-88-3187-K (D.Md. June 23, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    